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Leo James Terrell, State Bar No. 149693
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Att_omeys for Plaintiffs,
Nalel Ammari; and
Turlock RV Center, Inc. dba Best RV

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

NAIEL AMMARI and TURLOCK CASE NO.: l-l 1-CV-00867-LJO-DLB

Rv cENTER, INC., dba BEST Rv,
NoTICE 0F M0T10N AND MoTloN
, _ FoR 0R1)ER DEEMING PLAINTIFF’s
Plamuff, DESIGNATION 0F EXPERT
wlTNEssEs TIMELY- DECLARATION
vs. LEO JAMES TERRELL

EU_G}_ENE BRA”[HWAITE in his Assigned to Hon. Lawrence J. O’Neill
1nd1v1dual c_apaclty; S_YLViA C. ,
THOI\_/IAS, m her 1nd1v1du2_11 . Date: Aprll 10, 2013
capacity; and DOES l-20,1nclus1ve, Tlme: 8:30ma.m.
Ctrm.: 4, 7 Floor

Assigned to Hon. Lawrence J. O’Neill

Pretrial Conf.: Au . 7, 2013
Trial: Sept. 24, 20 3

Defendants.

 

TO THE COURT, DEFENDANTS AND ALL INTERESTED PARTIES HEREIN:

PLEASE TAKE NOTICE that on April 10, 2013, at 8:30 a.m. in Courtroom 4 -
7‘h Floor, of the United States District Court, Eastem District of California, Plaintiffs
Naiel Ammari, et al. (“Plaintiff”) hereby move this Court for an Order deeming

Plaintift’s designation of expert witnesses timely.
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Motion Deeming Plaintist
Designation Expert Witnesses Timely l

 

 

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The bases for this motion are as follows:

Plaintiff relied upon the docket text of the electronic notice of docket entry no.
24, Scheduling Order, in setting the deadline to designate its expert witnesses. The
idocket text of the electronic notice of docket entry no. 24, Scheduling Order, states in
pertinent part that the deadline to designate expert witnesses is April 5, 2013, whereas
the Scheduling Order states that February 1, 2013, is the deadline to designate expert
witnesses (Exhibit l, docket text of electronic notice of docket entry no. 24,
Scheduling Order; Exhibit 2, Scheduling Order; docket no. 24.) Plaintiff relied on
lthe docket text of the electronic notice of docket entry no. 24, Scheduling Order, in
icalendaring the deadline to designate expert witnesses as April 5, instead ofFebruary
1, 2013. Furthermore, though Defendant Eugene Brathwaite, et al. (“Defendants”)
informed Plaintiff that its designation of expert witnesses was late, they then agreed
lto enter into a Stipulation to extend the deadline for the parties to designate expert
witnesses thereby acknowledging that the timing of Plaintift’s designation of expert
witnesses did not deny them the opportunity to take the depositions of Plaintiff’ s
rexpert witnesses.

Plaintiff basis this motion on the pleadings, papers and records filed in this
action, the attached declaration of Leo J ames Terrell, the memorandum of points and
authorities filed in support hereof, and such oral and documentary evidence as the
court may admit at the hearing of this motion.

Plaintiff has invited Defendants to meet and confer with pursuant to the local
rules of this court prior to the filing of this motion. (Exhibit 6.) To date, Defendants
have not informed Plaintiff that they oppose this motion. (Declaration of Leo J ames
Terrell1] 12.)
lDATED: March 7, 2013 LAW OFFICE OF LEO JAMES TERRELL

By: /s/ Leo James Terrell

Leo James Terre_ll, Esq.
Attorney for Plamtiffs

Motion Deeming Plaintiff's
Designation Expert Witnesses Timely 2

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES

I. ARGUMENT

A. Introduction

Plaintiff respectfully requests that this Court deem its designation of expert
witnesses timely because of its reliance on the docket text of electronic notice of
docket entry no. 24, Scheduling Order, in setting the deadline to designate expert
witnesses. The docket text of the electronic notice of docket entry no. 24, Scheduling
Order, states that the deadline to designate expert witnesses is April 5, 2013, whereas
the Scheduling Order states that February 1, 2013, is the deadline to designate expert
witnesses. (Exhibit 1, docket text of electronic notice of docket entry no. 24,
Scheduling Order; Exhibit 2, Scheduling Order; docket no. 24.) Plaintiff relied on
the docket text of the electronic notice of docket entry no. 24, Scheduling Order, in
calendaring the deadline to designate expert witnesses as April 5, instead ofFebruary
l, 2013. Furthermore, though Defendants informed Plaintiff that its designation of ,
lexpert witnesses was late, they then agreed to enter into a Stipulation to extend the
deadline for the parties to designate expert witnesses thereby acknowledging that the
-timing of Plaintiff s designation of expert witnesses did not deny them the opportunity
to take then depositions of Plaintiff's expert witnesses.

B. Background

On January 13, 2012, the Court issued a Scheduling Order in the above-
referenced matter. (Exhibit 2, Scheduling Order; docket no. 24.) Plaintiff received
electronic notice of docket entry no. 24, Scheduling Order, on January 13, 2012,

(Exhibit l.) The docket text of the electronic notice of docket entry no. 24,
Scheduling Order, states that the deadline to designate expert witnesses is April 5,
2013. (Exhibit l.) Plaintiff relied on the docket text of the electronic notice of docket
lentry no. 24, Scheduling Order, in calendaring April 5, 2013, as the deadline to

designate expert witnesses. (Declaration of Leo J ames Terrell (“Terrell Decl.”) 11 1 1 .)

Motion Deeming PlaintifPs
Designation Expert Witnesses Timely 3

 

 

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On February 4, 2013, Plaintiff received in the mail Defendants’ Expert Witness
Disclosure, which was served via US First Class mail or February 1, 2013. (Terrell
Decl. 11 4.) This prompted Plaintiff to review the Court’s Scheduling Order, (Terrell
Decl. 11 4; Exhibit 2; docket no. 24.) Therein, the Court directed the parties to this
action to “disclose all expert witnesses, in writing, on or before February 1, 2013.”

(Exhibit 2, pg. 2:ln. 9-10; docket no. 24.) Thereafter, Plaintiff realized it had

calendared the date of April 5, 2013, as the deadline to designate expert witnesses

 

 

because it relied on the docket text of the electronic notice of docket entry no. 24,
Scheduling Order, to set the deadline to designate expert witnesses. (Terrell Decl. 11
4; Exhibit 1)

As a result, Plaintiff sent Defendants a letter proposing that the parties enter into
a stipulation to extend the non-expert and expert discovery cut-off and the deadline
to disclose expert witnesses to March 15, 2013. (Exhibit 4, Plaintist letter dated
February 5, 2013, to Defendants; Terrell Decl. 1[ 5.)

Furthermore, on February 6, 2013, two court days after February l, 2013,
Plaintiff forwarded to Defendants its Expert Witness Disclosure via facsimile and US
First Class mail. (Exhibit 3, Plaintiff’s Expert Witness Disclosure; Terrell Decl. 11 6.)

On February 6 and 7, 2013, the parties meet and conferred regarding, inter alia,
Plaintist designation of expert witnesses (Terrell Decl. 1| 7.) During the parties

 

meet and confer, Defendants took the position that Plaintiff’ s expert witnesses cannot
ltestify at trial because Plaintiff disclosed its expert witnesses late. (Terrell Decl. 11 7.)
The parties then agreed to resolve the issue regarding the timing of Plaintiff’s
designation of expert witness by way of Stipulation whereby the parties agreed to
extend, inter alia, the deadline to disclose expert witnesses. (Exhibit 5, Stipulation
and Order to Extend Deadlines Set by the Court’s Scheduling Order; docket no. 46;
Terrell Decl. 11 7.) On March 1, 2013, the parties submitted to the Court for review
eir Stipulation to Extend Deadlines Set by the Court’s Scheduling Order . (Exhibit
5; docket no. 46.)

Motion Deeming Plaintiff's
Designation Expert Witnesses 'I`imely 4

 

 

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C. The Timing of Plaintiff’ s Designation of Expert Witnesses was Based
on the Electronic Notice of Docket Entry no. 24, Scheduling Order
Plaintiff’ s designation of expert witnesses beyond the Court’s deadline of
February l, 2013, was a result of its reliance on the electronic notice of docket entry
no. 24, Scheduling Order.
On January 13, 2012, the Court issued a Scheduling Order in the above-

 

referenced matter. (Exhibit 2; docket no. 24.) Plaintiff also received electronic
notice of docket entry no. 24, Scheduling Order, on January 13, 2012. (Exhibit l.)
Plaintiff"s counsel, Leo James Terrell, Esq., proceeded with entering into his case
rcalendar the deadlines set by the Court based on the docket text of the electronic
pnotice of docket entry no. 24, Scheduling Order (Exhibit l). (Terrell Decl.1[ 10.) In
regards to the deadline for the expert witness disclosure, the docket text of docket
entry no. 24, Scheduling Order, specifically states “Designation of Expert Witnesses
tdue by 4/5/2013 . . . ” (Exhibit l; Terrell Decl. 1| ll.) When Mr. Terrell entered the
-deadline to designate expert witnesses in his case calendar, he relied on the docket text
lof the electronic notice of docket entry no. 24, Scheduling Order. (Terrell Decl.1] l 1 .)
However, the Scheduling Order (Exhibit 2; docket no. 24) indicates April 5, 2013,
as the deadline to conduct expert-witness discovery and February l, 2013, as the
ldeadline to designate expert witnesses whereas the docket text of the electronic notice
tof docket entry no. 24, Scheduling Order (Exhibit l), states that the deadline to
designate expert witnesses is 4/5/2013. (Terrell Decl.1l l 1 .) The conflicting dates for

 

he deadline to designate expert witnesses caused Mr. Terrell to calendar the deadline
`:o designate expert witnesses as April 5, 2013, instead of February l, 2013. (Terrell

Decl. 11 ll.)
Thus, Plaintiff respectfully requests that the Court deem Plaintiff’s designation

'of expert witnesses timely.

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 5

 

 

 

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D. The Timing of Plaintiff’s Designation of Expert Witnesses Did not
Deny Defendants the Opportunity to Take the Depositions of
Plaintiff’s Expert Witnesses

The timing of` Plaintiff"s designation of expert witnesses did not deny

Defendants the opportunity to take the depositions of Plaintiff’s expert witnesses

The current deadline for Defendants to depose PlaintifPs expert witnesses is

April 5, 2013. (Exhibit 2; docket no. 24.) Plaintiff has informed Defendants that its

expert witnesses are available for their depositions (Exhibit 6, Plaintiff’s letter to

Defendants dated March 5, 2013; Terrell Decl. 11 8.) Plaintiff has made available to

Defendants its expert witnesses for deposition within the current deadline of April 5,

2013, to conduct expert discovery. (Exhibit 2; docket no. 24.) To date, Defendants

have not informed Plaintiff that the timing of Plaintiff’s designation of expert

witnesses has denied them the opportunity to take the depositions of Plaintiff’ s expert

witnesses (Terrell Decl. 1| 9.)

Thus, the timing of Plaintiff"s designation of expert witnesses did not deny

Defendants the opportunity to take the depositions of Plaintiff’s expert witnesses

E. Defendants Acknowledged that the Timing of Plaintiff’ s Designation
of Expert Witnesses Did not Deny Them the Opportunity to Take the
Depositions of Plaintiff’s Expert Witnesses

Defendants have acknowledged that the timing of Plaintiff’s designation of

expert witnesses did not deny them the opportunity to take the depositions of

Plaintiff’s expert witnesses
On March 1, 2013, the parties submitted to the Court for review their

Stipulation to Extend Deadlines Set by the Court’s Scheduling Order .' (Exhibit 5;

ldocket no. 46.) Therein, Defendants agreed to extend the deadline for Plaintiff to

 

' On March 5, 2013, the Hon. Lawrence J. O’Neill issued an order denying
the parties Stipulation to Extend Deadlines Set by the Court’s Scheduling Order.
(Docket no. 48.)

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 6

 

 

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designate its expert witnesses thereby acknowledging that the timing of Plaintiff" s
ldesignation of` expert witnesses did not deny them the opportunity to take the
depositions of Plaintiff’s expert witnesses

Thus, Defendants have acknowledged that the timing of Plaintiff’s designation
of expert witnesses did not deny them the opportunity to take the depositions of
Plaintiff’ s expert witnesses
II. CONCLUSION

Based upon the foregoing, Plaintiff respectfully requests that this Court deem
PlaintifPs designation of expert witnesses timely.
DATED: March 7, 2013 LAW OFFICE OF LEO JAMES TERRELL

By: /s/ Leo J ames Terrell

Leo J ames Terre_ll, _Esq.
Attomey for Plaintiffs

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 7

 

 

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DECLARATION OF LEO JAMES TERRELL

I, Leo Jarnes Terrell, hereby declare and state as follows:

1.

I am an attorney at law licensed to practice before all courts in the State
of California.

I am the attorney of record for PlaintiffNaiel Ammari, et al. in the above-
entitled action.

I have personal knowledge of the within stated facts and if called to
testify, I would and could testify competently thereto.

On February 4, 2013, I received in the mail Defendants’ Expert Witness
Disclosure, which was served via US First Class mail or February 1,
2013. This prompted me to review the Court’s Scheduling Order.
(Exhibit 2; docket no. 24.) Thereafter, I learned that I had calendared
the date of April 5, 2013, as the deadline to designate expert witnesses
because I relied on the docket text of the electronic notice of docket entry
no. 24, Scheduling Order, to set the deadline to designate expert
witnesses (Exhibit l.)

As a result, on February 5, 2013, I sent Mr. Kevin Reager, counsel for
Defendants, a letter proposing that the parties enter into a stipulation to
extend the non-expert and expert discovery cut-off and the deadline to
disclose expert witnesses to March 15, 2013. (Exhibit 4, Plaintiff’ s letter
dated February 5, 2013, to Defendants)

Immediately thereafter, on February 6, 2013, I forwarded to Defendants
counsel, Mr. Kevin Reager the Plaintiff’s Expert Witness Disclosure via
facsimile and US First Class mail. (Exhibit 3, Plaintiff’s Expert Witness
Disclosure.)

On February 6 and 7, 2013, the parties meet and conferred regarding,
inter alia, Plaintiff’s designation of expert witnesses During the meet

and confer, Defendants’ counsel, Mr. Kenny Nguyen, took the position

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 8

 

 

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11.

that Plaintiff’ s expert cannot testify at trial because Plaintiff disclosed its
expert witnesses late. The parties then agreed to resolve the issue
regarding the timing of Plaintiff’s designation of expert witness by way
of Stipulation whereby the parties agreed to extend, inter alia, the
deadline to disclose expert witnesses (Exhibit 5, Stipulation and Order
to Extend Deadlines Set by the Court’s Scheduling Order; docket no.
46.)

I have informed Mr. Reager and Mr. Nguyen that my expert witnesses are
available for their depositions (Exhibit 6, letter dated March 5, 2013.)
To date, neither Mr. Reager or Mr. Nguyen have stated that the timing of
Plaintiff’s designation of expert witnesses has denied them the
opportunity to take the depositions of Plaintiff’s expert witnesses
Upon receipt of the electronic notice of docket no. 24, Scheduling Order,
I proceeded with entering into my case calendar the deadlines set by the
Court based on the docket text of electronic notice of docket entry no. 24,
Scheduling Order (Exhibit l).

In regards to the deadline for the expert witness disclosure, the docket
text of docket entry no. 24, Scheduling Order, specifically states
“Designation of Expert Witnesses due by 4/5/2013 . . . ” (Exhibit l.)
When I entered the deadline to designate expert witnesses in my case
calendar, I relied on the docket text of the electronic notice of docket
entry no. 24, Scheduling Order. However, the Scheduling Order
(Exhibit 2; docket no. 24) indicates April 5, 2013, as the deadline to
conduct expert-witness discovery and February 1, 2013, as the deadline
to designate expert witnesses whereas the docket text of the electronic
notice of docket entry no. 24, Scheduling Order (Exhibit l), states that
the deadline to designate expert witnesses is 4/5/2013. The conflicting

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 9

 

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dates for the deadline to designate expert witnesses caused me to
calendar the deadline to designate expert witnesses in my case calendar
as April 5, 2013, instead of February l, 2013.

12. On March 5, 2013, I informed Mr. Reager and Mr. Nguyen of my intent
to file this motion. (Exhibit 6, letter dated March 5, 2013.) To date,

Defendants’ counsel has not informed me that they oppose this motion.

I declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct.
Executed this 7‘h day of March, 2013, at Beverly Hills, Califomia.

/s/ Leo James Terrell

Leo James Terrell, Declarant

Motion Deeming Plaintiff’s
Designation Expert Witnesses Timely 10

 

 

